Case 01-01139-AMC Doc 4020-5

STATE OF MINNESOTA -
COUNTY OF DAKOTA

Filed 07/08/03 .Page 1 of 1

DISTRICT COURT

FIRST JUDICIAL DISTRICT

—_ - - == ——- —-_

File Nos. 99091

In Res State and Regents'
99082

Building Asbestos Cases
ORDER

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Pursuant to appearance of counsel, and upon oral
argument either made on December 19, 20 and 21, 1988, or
| waived therein, and based upon the pleadings, records and
motions duly submitted,

IT IS HEREIN ORDERED:

1. Defendant W.R.Grace's motion (number 14) to
preclude Plaintiffs from presenting evidence regarding dust

samples is DENIED.

' ' Thomas H..Carey .- |
Judge of District Court

Dated: December 27 1988
